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Exhibit "A"

255367 Thai Tran (255367)
258117 Barbara Mai (258117)
263756 Thai Tran (263756) -
264526 Hoang Thanh (264526)
264625 Phuong Luu (264625)
264900 Nam Dang (264900)
265189 Xuan Dang (265189)
267304 Hung Duong (267304) —
267313. Hong Le (267313) _
268121 Devan Phan (268121)

Irvington
Mobile

Mobile

Mobile

Mobile
Theodore
Bayou La Batre
Bayou La Batre
Bayou La Batre
Bayou La Batre

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